       Case 1:21-cr-00192-RCL Document 21 Filed 07/06/21 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
        v.                                   : CRIMINAL NO. 21-CR-192
                                             :
 JOSEPH CABLE BARNES,                        :
                                             :
                          Defendant.         :

                    GOVERNMENT’S SUGGESTION OF DEATH
                  AND MOTION FOR ABATEMENT OF PROSECUTION

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully seeks abatement of prosecution in this matter. As grounds for this

request, the United States now states that, on information and belief, the defendant died on June

12, 2021, in Austin, Texas.

       The defendant’s death is a basis for abatement of all prosecution proceedings from their

inception. See Durham v. United States, 401 U.S. 481, 483 (1971).

       WHEREFORE, the United States respectfully requests that this prosecution be abated.



                                    Respectfully submitted,


                                             CHANNING D. PHILLIPS
                                             Acting United States Attorney
                                             D.C. Bar No. 415793



                                     By:
                                             TROY A. EDWARDS, JR.
                                             Assistant United State Attorney
                                             N.Y. Bar No. 5453741
                                             555 4th Street, N.W.,
                                             Washington, D.C. 20530
                                             Troy.Edwards@usdoj.gov
                                             (202) 252-7081
